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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

_________________________________________

      MARCIA COPELAND,                      Civil No. 17-17 (NLH/KMW)

             Plaintiff,
                                            OPINION
        V.

      NEWFIELD NATIONAL BANK,
      LYNDA GAZZARRA, GAZZARA
      REAL ESTATE,

            Defendants.
_________________________________________

APPEARANCES:

Marcia Copeland
2 Apple Ridge Way
East Brunswick, N.J. 08816
     Pro Se Plaintiff

Thomas M. North, Esquire
53 Newton Avenue
Woodbury, N.J. 08096
     Attorney for Defendant Newfield National Bank

HILLMAN, DISTRICT JUDGE

      This matter comes before the Court by way of Defendant

Newfield National Bank’s motion [Doc. No. 4] to dismiss

Plaintiff’s Complaint pursuant to Federal Rule of Civil

Procedure 12(b)(5) for insufficient service of process, or, in

the alternative, to quash service of process.          Plaintiff Marcia

Copeland, appearing pro se, opposes Defendant’s motion.          The

Court has considered the parties’ submissions, and decides this

matter pursuant to Federal Rule of Civil Procedure 78.
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      The Court has determined sua sponte that it lacks subject

matter jurisdiction over this matter, will therefore dismiss

this matter, and deny Defendant’s motion to dismiss as moot.

I.    JURISDICTION

      The first section of Plaintiff’s Complaint, entitled

“Federal Jurisdictional Codes”, sets forth two purported bases

for the Court’s exercise of jurisdiction in this matter.           (Pl.’s

Compl. [Doc. No. 1], 1.)     Initially, it appears Plaintiff seeks

to bring claims against Defendants for purported violations of

the Federal Trade Commission Act (hereinafter, “FTCA”) with

respect to a failed real estate transaction that occurred in

2016. 1   Thus, Plaintiff seems to assert that the Court may

exercise jurisdiction over Plaintiff’s federal law claims under

the FTCA pursuant to 28 U.S.C. § 1331.        Additionally, Plaintiff

sets forth a more general, broad-based assertion of

“discrimination” as a basis for jurisdiction. 2


1    Specifically, the Complaint states: “1. Federal Trade
Violation and deceptive advertising and real estate practice.
Manipulating sale for [sic] of real estate for reason that must
be explored.” (Pl.’s Compl., 1.) Plaintiff explicitly cites 15
U.S.C. § 54 – a section of the FTCA which outlines the
imposition of penalties for violations which constitute false
advertising.

2    Plaintiff’s assertion of “Discrimination” as a basis for
jurisdiction is simply a one-word description on the first page
of the Complaint and in her prayer for relief. The remainder of
the Complaint is completely devoid of any facts that even
suggest, much less support as plausible, a federal claim for
discrimination of any kind. Accordingly, the Court cannot

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II.   BACKGROUND

      From the Court’s review of the Complaint, it appears that

in December of 2016, Plaintiff worked with a relator by the name

of Bob Maz in an attempt to purchase a property located at 116-

118 Cooper Street, Woodbury, New Jersey.        (Pl.’s Compl., 1-2.)

The property was listed by Defendant Gazzara Realty, and the

listing agent involved in the transaction was Defendant Lynda

Gazzara.   (Id. at 2-3.)    Exhibit 1 to the Complaint demonstrates

that the property which Plaintiff sought to purchase was “bank

owned” by Defendant Newfield Bank.       (Ex. 1 to Pl.’s Compl., 1.)

Plaintiff claims that she made a cash offer to purchase the

property, and despite the pending offer, did not receive a

counter-offer or any substantive response to her offer.          (Pl.’s

Compl., 2-3.)

      Plaintiff alleges, in broad terms, that Defendants engaged

in deceptive advertising, failed to disclose information that

the property in question was being pursued by another buyer, and

engaged in deceptive trade practice to deprive Plaintiff from

purchasing the property in question. (Id.)        Plaintiff requests

the following forms of relief from the Court: (1) dismissal of

the second offer made on the property; (2) that the Court



exercise jurisdiction over the Complaint based on a one-word,
generalized claim of discrimination without any supporting
facts. The remainder of this Opinion only addresses the FTCA
claim.

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forward an “official complaint” to the Real Estate Commission;

(3) triple damages based on the price the second buyer paid to

acquire the property; and (4) any other remedies permissible

under the laws against deceptive advertising and discrimination.

(Id. at 3.)

     Defendant Newfield Bank subsequently moved to dismiss the

Complaint pursuant to Rule 12(b)(5) on the basis of insufficient

process of service. (Def.’s Mot. to Dismiss [Doc. No. 4].)           In

the alternative, Defendant argues that the Court should quash

service.

III. DISCUSSION

     Despite the various arguments presented in the pending

motion to dismiss, Defendants do not challenge the Court’s

exercise of jurisdiction over Plaintiff’s alleged FTCA claims.

However, as the Third Circuit has held, “[f]ederal courts are

courts of limited jurisdiction, and when there is a question as

to our authority to hear a dispute, ‘it is incumbent upon the

courts to resolve such doubts, one way or the other, before

proceeding to a disposition on the merits.’”         Zambelli Fireworks

Mfg. Co. v. Wood, 592 F.3d 412, 418 (3d Cir. 2010) (citing

Carlsberg Res. Corp. v. Cambria Sav. & Loan Ass’n., 554 F.2d

1254, 1256 (3d Cir. 1977)).      Accordingly, federal courts have an

independent obligation to address issues of subject matter

jurisdiction sua sponte and may do so at any stage of the


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litigation.   Adamczewski v. Emerson Elec. Co., No. 10–4862, 2011

WL 1045162, at *1 (D.N.J. Mar. 22, 2011) (citing Meritcare Inc.

v. St. Paul Mercury Ins. Co., 166 F.3d 214, 217 (3d Cir. 1999),

overruled on other grounds by Exxon Mobil Corp. v. Allapattah

Servs., Inc., 545 U.S. 546, 125 S.Ct. 2611, 162 L.Ed.2d 502

(2005)).   Therefore, although the parties have not specifically

raised the issue of the Court's subject matter jurisdiction at

this time, 3 the Court must determine as a threshold matter

whether the exercise of jurisdiction is proper in this case

before ruling on the merits of the pending motion. In re

Caterbone, 640 F.3d 108, 111 (3d Cir. 2011) (noting courts must

“‘determine whether subject-matter jurisdiction exists, even in

the absence of a challenge from any party’”) (citation omitted).

IV.   ANALYSIS

      The Court of Appeals for the District of Columbia Circuit

has previously explained that “[t]he role of the courts in the

enforcement of the Federal Trade Commission Act is one that

comes into play primarily only after the Commission has set its

administrative processes in motion.       The court's role is not one

of direct enforcement but one related to the administrative


3    Plaintiff’s opposition to Defendant’s motion repeatedly
asserts – in a cursory manner – that the Court has subject
matter jurisdiction over this matter. Despite Plaintiff’s
assertion, the Court must independently assess the basis for
jurisdiction here and cannot simply accept her representations
that jurisdiction is proper.

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process–in part supervisory and in part collaborative.”

Holloway v. Bristol-Myers Corp., 485 F.2d 986, 1002, (D.C. Cir.

1973).   The D.C. Circuit has concluded that “[a] fair reading of

the statute and its legislative history evinces a plain intent

by Congress to make the administrative program for enforcing the

Federal Trade Commission Act an exclusive one. ... To imply a

private right of action to enforce the Federal Trade Commission

Act–however desirable or logical this might appear in the

abstract–would be contrary to the legislative design which we

discern to have been deliberately wrought.”         Id.

     Federal courts across the country have consistently held

that the FTCA does not permit a private cause of action, and

such claims are routinely dismissed.       See, e.g., Gajo v. Chicago

Brand, No. 17-cv-00380, 2017 WL 2473142, at *1 (N.D. Cal., June

8, 2017) (acknowledging that “[c]ourts have held that consumers

and members of the public at large may not maintain a private

action to enforce the FTCA.”) (citing Dreisbach v. Murphy, 658

F.2d 720, 730 (9th Cir. 1981) (stating that “private litigants

may not invoke the jurisdiction of the federal district courts

by alleging that defendants engaged in business practices

proscribed by “15 U.S.C. § 45(a)(1)”; “[t]he Act rests initial

remedial power solely in the Federal Trade Commission”); Aristeo

v. Raines, Civ. No. 15-4115, 2016 WL 430568, at *4 (D.N.J., Feb.

3, 2016) (recognizing that “[n]o private right of action exists


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under 15 U.S.C. § 45(a)(1) or 15 U.S.C. § 52(a)(2))(citing

Phillips v. Deutsche Bank Nat. Trust Co., No. 10-5883, 2010 WL

5246032, at *1 (C.D. Cal. Dec. 16, 2010) (no private right of

action under 15 U.S.C. § 45(a)(1)); and Montgomery v. Kraft

Foods Glob., Inc., No. 1:12–CV–00149, 2012 WL 6084167, at *1 n.2

(W.D. Mich. Dec. 6, 2012) (No private right of action under 15

U.S.C. § 52(a)(2))); Mulder v. Kohl's Department Stores, Inc.,

Civ. No. 15-11377, 2016 WL 393215, at *3 (D. Mass., Feb. 1,

2016) (explaining that “[t]he Federal Trade Commission Act does

not provide for a private cause of action.”) (citing Marini v.

Dragadosusa, No. 11–11316–GAO, 2012 WL 4023674, at *1 (D. Mass.

Sept. 11, 2012) (“[T]he Federal Trade Commission Act ... does

not provide a cause of action by private persons such as the

plaintiff.”); see also Shaulis v. Nordstrom Inc., 120 F. Supp.

3d 40, 46 (D. Mass., 2015) (again noting that “[t]he Federal

Trade Commission Act does not provide for a private cause of

action.”); and Diessner v. Mortg. Elec. Registration Sys., 618

F. Supp. 2d 1184, 1191 (D. Ariz. 2009) (dismissing claims under

the FTCA stating that “there is no private right of action under

the FTCA.”).

     Here, a plain reading of the Complaint makes clear that

Plaintiff seeks to bring this action pursuant to the FTCA, but,

as the case law cited above demonstrates, as a private citizen,

Plaintiff cannot maintain a private cause of action for the


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alleged violations of the FTCA she describes in the Complaint.

Accordingly, the Court lacks a basis to exercise subject matter

jurisdiction over the Complaint, and the Complaint must be

dismissed with prejudice as amendment would be futile in this

instance.   In light of the Court’s determination that

jurisdiction is lacking, the pending motion cannot be determined

on the merits and will be denied as moot.

V.   CONCLUSION

     For the foregoing reasons, Defendant’s motion [Doc. No. 4]

to dismiss for insufficient service of process will be denied as

moot.   Plaintiff’s Complaint will be dismissed for lack of

subject matter jurisdiction.      An Order consistent with this

Opinion will be entered.



Dated: December 29, 2017                 s/ Noel L. Hillman
At Camden, New Jersey                   NOEL L. HILLMAN, U.S.D.J.




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